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4
     Attorney for Defendant,
5
     Raul Carrasco Esparza
6

7                                  IN THE UNITED STATES DISTRICT COURT

8                                      EASTERN DISTRICT OF CALIFORNIA

9                                                             

10
        UNITED STATES OF AMERICA,                                          CASE NO. 1:15-CR-00319-LJO-SKO
11

12                 Plaintiff,
                                                                          DEFENDANT
                                                                          RAUL CARRASCO ESPARZA
13      v.                                                                UNOPPOSED MOTION TO EXTEND
14
                                                                          SENTENCING BY FORTY-FIVE (45)
        RAUL CARRASCO ESPARZA,                                            DAYS
15
                   Defendant.
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18

19            TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT,
20
     EASTERN DISTRICT OF CALIFORNIA:
21
              COMES NOW, Raul Carrasco Esparza, Defendant in the above entitled and numbered case,
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23
     by and through his counsel of record, Alonzo J. Gradford, files this Unopposed Motion to Extend

24   Sentencing by FORTY-FIVE (45) days in the above entitled case, and in support of thereof would
25
     show the Court the following:
26
         1. By previous order, the matter was set for sentencing on February 25, 2019;
27
         2. Attorney of Record, Alonzo J. Gradford, and Assistant United States Attorney Kimberly
28



     Defendant's Unopposed Motion to Extend Sentencing by Forty-Five (45) Days.
     Case 1:15-cr-00319-JLT-SKO Document 167 Filed 02/04/19 Page 2 of 2


              Sanchez have conferred to discuss this case and Counsel's need/desire for a continuance;
1

2        3. Attorney Gradford is dealing with significant personal issues that are now coming to a

3             conclusion, however, they have caused him to remain away from his counsel obligations and
4
              Mr. Esparza's sentencing matters until recently;
5
         4. Additional time is needed to complete this phase of the Sentencing Deadlines;
6

7
         5. Assistant U.S. Attorney, Kimberly Sanchez, is unopposed to the filing of this motion;

8        6. At this time, a 45-day continuance is requested;
9        7. This motion is made in the interest of justice and not for any reason of delay.
10
              WHEREFORE, PREMISES CONSIDERED, the defendant prays this Honorable Court
11
     grand his Unopposed Motion to Extend Sentencing and to extend all Sentencing Deadlines by 45
12

13   days.

14                                                                    Respectfully Submitted,
15

16
     Dated: February 28, 2019                                         /s/Alonzo Gradford
17                                                                    ALONZO GRADFORD
                                                                      Counsel for Defendant Raul Carrasco Esparza
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20   IT IS SO ORDERED.
21
         Dated:       February 4, 2019                                 /s/ Lawrence J. O’Neill _____
22                                                          UNITED STATES CHIEF DISTRICT JUDGE
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     Defendant's Unopposed Motion to Extend Sentencing by Forty-Five (45) Days.
